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Hi Maggie. I am working on constructing a VERY important email to be sent to the
existing Limerick members in the hope to entice them to come to our Collegeville
location. This is very important as you know. In an effort to do so, I have been
consulting with "Gregory Cauterucci" the COO of Fox Subacute Hospital, and Chris
Stevenson an industry professional (mini bio on him below) on how to best ease the
public back into exercise after COVID-19. We have asked Dr. Cauterucci his opinion on
what can be done medically to ease the fears of the public. We asked Mr. Stevenson on
how to best construct the email in a customer friendly way using his vast marketing and
industry skills. Below is a draft including our new COVID19 protocol. Both Dr.
Cauterucci and Mr. Stevenson agreed that we should place a protocol in place (at least
initially) to ease the concerns of our returning members. Part of this protocol will also be
to display the UVA research article which suggest "exercise protects against deadly
COVID-19 complications",
https://news.virginia.edu/content/exercise-may-protect-against-deadly-covid-19-
complication-research-suggests

"Hey guys. As most of you know COVD19 has traumatized many people’s lives,
livelihoods and employment. The health club industry and restaurant industries
specifically (but not exclusively) have been devastated. As recently as last week, 30
Golds Gym locations have closed and Nationally over 500 additional health clubs are
earmarked to close. In discussing business with the Phoenixville Borough counsel’s
President, he mentioned he projects potentially losing 30% of downtown businesses.
Collegeville and Skippack are very concerned as well. This is sad news. Please always
chose to support local when given the chance. I have spent 30 years in this community,
and I hate to see any business or family struggle in the communities in which we serve.

As many of you know our Limerick Rascals Fitness location has been challenged by a
very non-cooperative landlord over the past 4 years. Our rent has increased over 45%
during this time. When we Factor in the increase in our local competition and now the
effects of a Covid-19 shut down, our Limerick location simply is no longer
sustainable. Trust me when I say we have tried VERY hard to explain our position to
the landlord and the powers that be. Unfortunately, we will need to close our Limerick
location :(

Now the good news! ALL Rascals Fitness members will immediately be transferred to
our Collegeville location only 5 minutes down the road. We do not view this as bad
news but rather a new beginning for us all! We will still offer our cool classes and our
smiling faces :) We expect you all to give us a try! Suffice it to say, we have missed you
all very much during this shut down and cannot wait to see you!

If... after trying you decide it is too far, you can feel secure that we haven’t changed our
policy for cancellation. It is simply a 30-day notice. During that 30 days we will be sure
to wow you at Collegeville! We understand EVERYONE has concerns these days.
Because of this we have established a COIVD-19 protocol in Collegeville to make
members feel more comfortable. During the shutdown we have been in touch with
industry professionals as well as medical professional. Common thought between them
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all? Exercising and taking care of your body is the BEST way to prevent any
disease including COVID19. They all agreed with this. Please review this articel as a
resource. https://news.virginia.edu/content/exercise-may-protect-against-deadly-covid-
19-complication-research-suggests

To alleviate some concern, we are implementing the "RCRP". (Rascals Covid19
Response Program). This includes:

1. Front door propped open as often as possible to eliminate the need to grab a door.

2. Cleaning station BEFORE you enter the building.

3. 30% more cleaning product on the floor.

4. KDL (keep distance lanyard). Members who feel they are "at risk" will be issued a
lanyard to wear if they want. This lanyard will tell other members to enforce the 6-foot
social distancing rule.

5. Posting a sign stating "expectations of our members" defining good COVID19
behavior.

6. Additional cleaning of equipment contact surfaces.

7. Posting of educational information.

Please remember FEAR is a FAR worse enemy than COVID19. Outside of a specific
high-risk category this disease is 99% recoverable. Live your Life!"


Chris Stevenson BIO OFF OF LINKED

Chris Stevenson is the founder of Stevenson Consulting, a full-service consulting firm based in
Westlake Village, California. Chris’s current focus is to help businesses and entrepreneurs of all
types maximize potential. His expertise stems from his past hands-on experience in all aspects of
the health club industry. For almost 20 years, Chris and his team successfully owned and operated
Stevenson Fitness, a full-service boutique health club in Southern California. The club’s success
was based on providing an unparalleled member experience, centered on proper staffing, systematic
operations, and world-class leadership. This success was reflected in the club’s NPS, which was
consistently in the 90s (industry average is in the 40s). Chris is an international speaker who
regularly presents at IHRSA, Club Industry, IDEA and many other fitness and business events. He
also sits on the board of directors of IHRSA and the Customer Engagement. From health and
wellness to business strategies, Chris has the unique ability to instantaneously connect with people
and to present viable, applicable lectures that resonate with every audience.

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